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                       IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 APSEC Resolution Trust LLC, as assignee of
 Bank of Hope

                                     Plaintiff,               23-cv-2032
                                                   Case No. _______________________________

                         v.
                                                   Honorable ______________________________

 Jin Hwi Lee and Tony Cole                         Property: 1205 N. Milwaukee Avenue
                                                   Chicago, IL 60642


                                  Defendant(s).

                          COMPLAINT TO FORECLOSE MORTGAGE
                                AND FOR OTHER RELIEF

        NOW COMES APSEC Resolution Trust LLC (herein, “Plaintiff”), by and through its

attorneys, Ashen Law Group, and for its Complaint against Jin Hwi Lee and Tony Cole, and states

as follows:

        1.        Plaintiff is a Delaware limited liability company which members are citizens of the

state of California.

        2.        This Court has original subject matter jurisdiction in the above-captioned case

pursuant to 28 U.S.C. 1332(a) because the matter in controversy is between citizens of different

states and the damages claimed exceed the sum of $75,000.00, exclusive of interests and costs.

        3.        This Court has personal jurisdiction over each Defendant pursuant to 735 ILCS 5/2-

209(a) and (b).

        4.        Venue is proper in this district pursuant to 28 U.S.C. 1391(b).

        5.        Jin Hwi Lee (“Borrower”) is a citizen of the state of Illinois and was at all times

referenced in this complaint a resident of the state of Illinois.



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        6.      Tony Cole (“Tenant”) is a citizen of the state of Illinois and was at all times relevant

a resident of the state of Illinois.

                              FACTS COMMON TO ALL COUNTS

        7.      On or about December 30, 2011, Borrower executed a Promissory Note Loan

Number 120800000003 in the amount of $286,580.00 (the “Note”) in favor of Plaintiff’s

predecessor, Foster Bank. A true and correct copy of the Note is attached hereto as Exhibit A.

        8.      On or about December 30, 2011, to induce Foster Bank to enter into the Note,

Borrower executed a mortgage between Borrower and in favor of Foster Bank (the “Mortgage”),

on the income producing property commonly known as 1205 N. Milwaukee Avenue, Chicago,

Illinois 60642 (the “Property”). A true and correct copy of the recorded Mortgage dated December

30, 2011 is attached hereto as Exhibit B.

        9.      On August 13, 2013, the Comptroller of Currency of the State of California certified

the merger of Foster Bank and BBCN Bank. On or about July 29, 2016, an Agreement of Bank

Merger was executed, whereby BBCN Bank and Wilshire Bank merged to create Bank of Hope.

True and correct copies of the bank succession documents are attached hereto as Exhibit C.

        10.     Thereafter, on or about December 12, 2016, as further consideration and security

for the Note, Borrower executed that certain Change in Terms Agreement, and that certain

Business Loan Agreement. A true and correct copy of the Change in Terms Agreement is attached

hereto as Exhibit D. A true and correct copy of the Business Loan Agreement is attached hereto

as Exhibit E.

        11.     On or about December 12, 2016, as further consideration and security for Note,

Borrower executed a Modification of Mortgage. The Modification of Mortgage was recorded with




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the Cook County Recorder of Deeds on January 4, 2017, as Document No. 1700410046. A true and

correct copy of the recorded Modification of Mortgage is attached hereto as Exhibit F.

       12.     As further consideration and security for Note, Borrower executed an Assignment

of Rents for the Property recorded January 4, 2017, as Document No. 1700410047. A true and

correct copy of the recorded Assignment of Rents is attached hereto as Exhibit G.

       13.     The Note, Mortgage, Change in Terms Agreement, Business Loan Agreement,

Modification of Mortgage, and Assignment of Rents, shall collectively herein be referred to as the

“Loan Documents”.

       14.     On or about December 29, 2022, Bank of Hope assigned to Plaintiff its right, title

and interest in the Loan Documents to Plaintiff. A true and correct copy of the recorded

Assignment of Mortgage as recorded with the Cook County Clerk on January 4, 2023 as Document

No. 2300422002 is attached hereto as Exhibit H. A true and correct copy of the Assignment of

Assignment of Rents as recorded with the Cook County Clerk on January 4, 2023 as Document

No. 2300422003 is attached hereto as Exhibit I.

                         COUNT I: MORTGAGE FORECLOSURE

       15.     Plaintiff files this Count to foreclose the Mortgage that it holds on the Property and

joins Jin Hwi Lee and Tony Cole as Defendants.

       16.     Plaintiff re-alleges and restates paragraphs 1-10 as if stated herein.

             a. Nature of instrument:                 Mortgage

             b. Date of Mortgage:                     December 30, 2011

             c. Name of mortgagor(s):                 Jin Hwi Lee

             d. Name of mortgagee:                    APSEC Resolution Trust LLC

             e. Date, place, and Identification of The Mortgage was recorded with the Cook
                recording                          County Recorder of Deeds on January 13,


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                                              2012, as Document No. 1201331093.

                                              A Modification of Mortgage was recorded with
                                              the Cook County Recorder of Deeds January 4,
                                              2017 as Document No. 1700410046.

                                              An Assignment of Mortgage was recorded with
                                              the Cook County Clerk on January 4, 2023 as
                                              Document No. Document No. 2300422002



     f. Identification of recording           Document No. 1201331093 (Mortgage)
                                              Document No. 1700410046 (Modification)
                                              Document No. 2300422002 (Assignment)

     g. Interest subject to mortgage          100% fee simple

     h. Amount of original                    $286,580.00.
        indebtedness, including
        subsequent advances made
        under Mortgage:

     i. Both the legal description of         LOT 71 IN SUBDIVISION OF BLOCK 12
        mortgaged real estate and the         IN CANAL TRUSTEE'S SUBDIVISION OF
        common address or other               THE WEST PART OF SECTION 5,
        information sufficient to identify    TOWNSHIP 39 NORTH, RANGE 14 EAST
        it with reasonable certainty          OF THE THIRD PRINCIPAL MERIDIAN
                                              (EXCEPT THE SOUTH EAST 1/4 OF THE
                                              NORTHWEST       1/4    AND     THE
                                              NORTHEAST 1/4 OF THE SOUTHWEST
                                              1/4) IN COOK COUNTY, ILLINOIS.

     j. Statements as to default:             •     Failure to provide financial reports and
                                                    additional documents pursuant to ¶ 21 of
                                                    the Mortgage and Business Loan
                                                    Agreement.

     k. Statement as to unpaid principal,         Principal               $98,228.35
        interest, other charges and total         Interest:               $71.62336.98
        accelerated amount as of March            *Per diem interest at
        27, 2023                                  $24.5571

                                                  Total                   $98,565.33




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     l. Name of present owner of the Jin Hwi Lee
        real estate:

     m. Names of defendants claimed to Jin Hwi Lee
        be    personally    liable for
        deficiency, if any:

     n. Names of other persons who are Tony Cole is the current occupant of the
        joined as defendants and whose Property.
        interest in or lien on the
        mortgaged real estate is sought
        to be terminated

     o. Capacity in which plaintiff Plaintiff is the legal holder of the Mortgage.
        brings this foreclosure

     p. Facts in support of request for Pursuant to ¶ 16 of the Mortgage, Plaintiff
        attorneys’ fees and of costs and shall be entitled to collect all expenses
        expenses:                        incurred in pursuing the remedies provided in
                                         the Mortgage, including all reasonable
                                         attorneys’ fees and costs, and other legal
                                         expenses.

     q. The names of defendants whose Jin Hwi Lee, Tony Cole
        rights to possess the mortgaged
        real estate after the confirmation
        of a foreclosure sale is sought to
        be terminated:

     r. Facts in Support of a shortened or The right of redemption was waived in ¶ 25 of
        waived redemption:                 the Mortgage.



     s. Facts in Support of a shortened The right of reinstatement was waived in ¶ 25
        reinstatement period; or that the of the Mortgage.
        right of reinstatement was
        waived:



     t. Facts in support of a request for Plaintiff reserves its right pursuant to the
        appointment of mortgagee in Mortgage to be placed as a mortgagee in
        possession or appointment of a possession or have a receiver appointed later.
        receiver:




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                                COUNT II: BREACH OF NOTE

          17.   Plaintiff re-alleges and re-states paragraphs 1 through 16 as though set forth fully

herein.

          18.   On December 30, 2011, Borrower executed the Note in favor of Foster Bank in the

original amount of $286,580.00.

          19.   Thereafter, on or about December 12, 2016, as further consideration and security for

the Note, Borrower executed that certain Business Loan Agreement, to which the Note remains

subject to. See Ex. E; p. 1.

          20.   Plaintiff is the holder and owner of the Note. Plaintiff has performed all the

obligations on its part to be performed under the Note.

          21.   Borrower is in breach of the Note and Business Loan Agreement, having breached

the affirmative covenant which requires Borrower to “maintain its books and records in accordance

with GAAP, applied on a consistent basis, and permit [Plaintiff] to examine and audit Borrower’s

books and records at all reasonable times”. Id.; p. 2.

          22.   Furthermore, Borrower is in breach of the Note for failure to pay real estate taxes

due and owing as of December 30, 2022. Id.

          23.   There is due from the Borrower, as of March 27, 2023, in the amount of $98,565.33

which includes unpaid principal, interest, late fees and costs.

          24.   Interest continues to accrue after March 27, 2023, at the rate of $24.5571 per day.

          25.   Plaintiff has demanded that Borrower fulfill their obligations under the Note;

however, Borrower has refused, and continues to refuse, to fulfill their obligations under the Note.

          26.   The Note states that Borrower shall pay all court costs and attorneys’ fees in the

event of a default under the Note to Plaintiff in collecting the sums owed.



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       WHEREFORE, Plaintiff, APSEC Resolution Trust LLC, requests from this Court (i) a

judgment to foreclose and sale, (ii) a personal judgment for a deficiency (iii) an order granting

possession, if sought, (iv) a judgment for attorneys' fees, costs, and expenses, (v) an order granting

or waiving the redemption period, (vi) an order placing the Mortgagee in possession or appointing

a receiver, if sought, (vii) such other relief as this court may deem just and equitable.



                                                              Respectfully submitted,

Ashen Law Group                                         By:   /s/ Brian Gipson
217 N. Jefferson Street, Suite 601                            Brian Gipson, Esq.
Chicago, IL 60661                                             Attorney for Plaintiff APSEC
(312) 655-0800                                                Resolution Trust LLC
ARDC: 6335936
bgipson@ashenlaw.com




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                       Exhibit A
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                        Exhibit B
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                        Exhibit C
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                                             AGREEMENTOFBANKMERGER
                        This AGREEMENT OF BAN/( MERGER dated as of July 24, 2013 (this "Bank Merger
                Agreement"), is entered into betwee1l3BR.{ Bapj (''Acguirer Bank"), a California state-
                chartered bank and a wholiy-owned subsidiary ofBBCN Bancorp, Inc., a Delaware corporation
                ("BBCN"), and Foster Bank ("Target Bank"), an Illinois state-chartered commercial bank and a
                wholly owned subsidiary of Foster Bankshares, Inc., a Delaware corporation (';Fbster").
                Acquirer Bank and Target Bank are sometimes referred to herein collectively as the "Parties"
                and individually as a "fm:tt;''

                       WHEREAS, BBCN, Won Merger Sub Corp., a Delaware corporation ("Merger Sub"),
                and Foster entered into an Agreement and Plan of Merger, dated as of April 15, 2013 (the
                "Holding Company Merger Agreement"), providing, among other things, for the merger of
                Merger Sub with and into Foster (the "Merger"); .

                        WHEREAS, in connection with the Merger, BBCN and Foster desire to merge Target
                Bank with and into Acquirer Banlc (the "Bank Merger'') concurrently with or as soon as
                reasonably practicable after the consummation ofthe Merger upon the terms and subject to the
                conditions set forth in this Bank Merger Agreement and the Holding Company Merger
                Agreement; and

                        WHEREAS, the Parties intend that for federal income tax purposes the Bank Merger
                shall qualify as a "reorganization" within the meaning of Section 368(a) ofthe Internal Revenue
                Code of 1986, as amended (the "Code"), and that this Bank Merger Agreement shall constitute a
                "plan ofreor~anization" for purposes of Sections 354 and 361 of the Code;

                       NOW, THEREFORE, in consideration of the foregoing and the respective
                representations, warranties, covenants and agreements set forth in this Bank Merger Agreement
                and the Holding Company Merger Agreement, subject to the conditions seHorth in this Bank
                Merger Agreement and the Holding Company Merger Agreement, and intending to be legally
                bound pereby, the Parties agree as follows:

                        l.      Effective Time. Upon the tenns and subject to the conditions set forth in this
               Bank Merger Agr~ement and the Holding Company Merger Agreement. concurrently with or as
               soon as reasonably practicable after the consummation of the Merger, Acquirer Bank and Target
               Bank shall cause the Bank Merger to be consummated by (i) filing a copy of this Bank: Merger
               Agreement, certified by the Secretary of St.ate of the State of California pursuant to ,Section 1103
               of the California General Corporation Law (the "CGCJ,.,"), with the Department of Business
               Oversight of the State of California pursuant to Section 4887 of the California Financial Code
               and (ii) filing a copy of this Bank Merger Agreement, together with al] other required documents
               and information, pursuant to Chapter 20S, Section 5/24 of the Illinois Compiled Statutes (the
               "ILCS") with the Illinois Department of Financial and Professional Regulation. The Bank
               Merger shall become effective as provided in Section 4887 of the California Financial Code (the
               ''Effective Time").
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         2.     The Merger. Acquirer Bank shall be the surviving bank in the Bank Merger (the
 "Surviving Bank"), At the Effective Time, Target Bank shall be merged with and into Acquircr
 Bank and the separate existence o(Target Bank shall cease. The Bank Merger shall be governed
 by, and shall have the effects set forth in, the CGCL and the ILCS.

        3.      Effects of the Merger.

                   (a)     At the Effective Time, the Surviving Bank shall succeed, without other
                                                    be
 transfer, to all the rights and properties, and shall subject to all the debts and liabilities, of
 Target Bank, and the separate. existence of Acqu.irer Bank, with all its purposes, objects, rights,
 powers, privileges, liabilities, obligations and franchises, shall continue unaffected and
 unimpaired by the Bank Merger.

              · (b)     The articles of incorporation (as amended effective as of the Effective
Time to reflect the new name of the Surviving Bank) and the bylaws of Acquirer Bank, as in
effect as of the Effective Time, shall be the articles of incorporation and bylaws of the Surviving
Bank, until thereafter altered, amended or repealed in accordance with their terms and applicable
law,

               (c)    The shares of Target Bank common stock, $20.00 par value per share
("Target Bank Common Stock") and the shares of Acquiret Bank common stock, no par value
per share ("Acguirer Bank Common Stock"), shall be treated as follows at the Effective Time: (i)
each share of Target Bank Common Stock issued and outstanding immediately prior to the
Effective Time shall be automatically canceled without consideration and cease to be an issued
and·outstanding share of Target ~ank Common Stock; and (ii) each share of Acquirer Bank
Common Stock issued and outstanding immed[ately prior to the Effective Time shall remain
issued and outstanding.

        4.      Directors and Officers of the Surviving Bank. The directors and officers of
Acquirer Bank shall be the directors and officers of the Surviving Bank without change in title or
authority, but subject to the authority and power of the board of directors and the sole
stockholder of the Surviving Bank to add directors or officers to, or otherwise modify, the board
of directors or number, titles and authority o.f the officers of the Surviving Bank.

        5.      Procurement of Approvals. This Bank Merger Agreement shall be subject to the
approval of BBCN, as the sole stockholder of Acquirer Bank, and Foster, as the 'sole stockholder
of Target Bank, at meetings to be called and held or by consent in lieu thereof in accordance with
the applicable provisions of law and their respective organizational documents. Acquirer Bank
and Target Bank shall use their comhiercially reasonable best efforts to proceed expeditiously
and cooperate fully in the procurement of any other consents and approvals and in the taking of
any other action, and the satisfaction of all other requirements prescribed by applicable law or
otherwise necessary for the consummation of the Bank Merger on the tenns provided herein,
including, without limitation, the preparation and submission of such applications or other filings
for approval of the Bank Merger as may be required by applicable laws and regulations.

      6.     Conditions Precedent. The obligations of the Parties under this Bank Merger
Agreement shall be subject to: (a) the approvals of this Bank Merger Agreement by BBCN, as
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the sole stockholder of Acquirer Bank, and by Foster, as the sole stockholder of Target Bank, at
meetings duly called and held or by consent or consents in lieu thereof, in each case without any
exercise of such dissenters' .rights as may be applicable; (b) receipt of approval of the Bank
Merger from all governmental and banking authorities whose approval is required by applicable
Jaws and regulations; and (c) the consummation ofthe Merger pursuant to the Holding Company
Merger Agreement at or before the Effective Time.

        7.     General Provisions.

               (a)    Termination and Am:eenient. The obligations of the Parties to effect the
Bank Merger shall be subject to all the terms and conditions contained in the Holding Company
Merger Agreement. This Bank Merger Agreement shall terminate, without any further action of
any Party, notwithstanding stockholder approval, in the event that the Holding Company Merger
Agreement shall be tenninated as provided therein prior to the Effective Time ..

                 (b)    Amendment. This Bank Merger Agreement may not be amended, ·
modified or supplemented except by an instrument in writing signed on behalf of each of the
Parties at any time prior to the Effective Time.

               (c)     Successors and Assigns. This Bank Merger Agreement shall be binding
upon and enforceable by the Parties and their respective successors and permitted assigns, but
this Bank Merger Agreement may not be assigned by any Party, by operation of law or
otherwise, without the prior written consent of the other Party.

               (d)     Governing Law. This Bank Merger Agreement shall be governed by and
construed in accordance with the Jaws of the State of California (without giving effect to choice
of law principles thereof).

                (e)      Counterparts. This Bank Merger Agreement may be executed in
counterparts (which counterparts may be delivered by facsimile or other commonly used
electronic means), each of which shall be considered one and the same agreement and shall
become effective when both counterparts have been signed by each of the Parties and delivered
to the other Party, it being understood that both Parties need not sign the same counterpart.

                                     [Signature page follows.]
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             £N WITNESS WHEREOF, the Parties have caused this Bank Merger Agreement to be
      executed by their respective officers thereunto duly authorized as of the date first above written.



                                                   BBCNBank


                                                   By:
                                                          Name: Soo Bong Min
                                                          Title: President and Chief Executive Officer

                                                  By:
                                                          Name; Juliet Stone
                                                          Title: Secretazy



                                                 Foster Bank


                                                 By:
                                                         Name: Paul B. Kim
                                                         Title: President


                                                By:
                                                        Name: Kurt C. Felde
                                                        Title: Secretary




                         Signature Page ta Agreement of Bank Merger
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             IN WITNESS WHEREOF, the Parties have ca11sed this Bank-Merger Agreement to be
      executed by thefr respective officers thereunlo duly authorized.as of the date first above written.



                                                   BBCN Bank

                                                   By:
                                                          Name: Soo Bong Min
                                                          Title: President and Chief Executive Officer



                                                  By:




                                                 Foster Bank

                                                 By:
                                                         Name: Paul B. Kim
                                                         Title: President



                                                By:
                                                         Name: Kurt C. Felde
                                                         Title: Secretary




                         Signature Page to Agreement of Bank Merge,·
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            fN WITNESS WHEREOF, !he Parties have caused this Bank Merger Agreement to be
     executed by their respective officers thereunto duly authorized as of the date first a.l;}ove written.


                                                    BBCN Bank

                                                   By;
                                                         Name: Soo Bong Min
                                                         Title: President and Chief Executive Officer


                                                  By:
                                                         Name: Juliet Stone
                                                         Title: Secretary



                                                 Foster Bank

                                                 By,     ,.i)c....Q f? 1"12
                                                       Name: Paul B. Kim
                                                       Title: President


                                                By:
                                                        Name: Kurt C. Felde
                                                        Title: Secretary




                        Signature Page to Agreement of Bank Merger
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            IN WITNESS WHEREOF, the Parties have caused this Bank Merger Agreement to be
     executed by their respective officers thereunto duly authorized as of the date first above written.



                                                  BBCN Bank

                                                  By:
                                                         Name: Soo Bong Min
                                                         Title: President and Chief Executive Officer


                                                 By:
                                                         Name: Juliet Stone
                                                         Title: Secretary



                                                Foster Bank

                                                By:
                                                        Name: Paul B, Kim
                                                        Title: President


                                               By:
                                                        Nnme: Kurt C. Felde
                                                        Title: Secretary




                        Signature Page to Agreement of Bank Mergel'
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        sen111rCounu1        'f.HIS AGlt,BBMBNT OF BANK. MBROBR•. dated as of'1uly 2S, 2016 (tbjs. "~ank
                     M@rger Am:eeme111~'), ·ts. cnt~rc~ ~llto b~twcon Wils.n~ Bank, !l C~ifomm sta~cb!ll(er~d b~
                     md I'! Wh(!lly' o · ed subsidiary of Wllsbb:c: Banoorp~ Inc., a Galtfottrla oorp~r:atfon (''D&'1,
                     an. J3BCN Bank · a California state•oharlered bank and a Whl)l!Y o.wne~ subsldiary ofBBCN
                    ,Biinoo _1 c.1 a Dolewaro oolJlor~lion ("l,U3~'). Wilahire Bauk and BBCN. :Sllllk arc
                     som.etlmes refc:noo to herein coUeotivel).'-BS the'~iP'erti¢' and individually as a ..~...
                           WHEREAS,. WIBC and ~CN ent11Tad inta an Agreement and 'Plan of Merger,..dated as
                    of Dece~~11:r 7, 2.0_l S (the- ' 1Agrc~mcmt•,, p,"Ov'iding, among othcrthinga, for the me.rget· of W!BC
                    wl~b and .Jnto BBCN, with.BBClif surviving (lh!i ~ " ) ;
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                              WHB'RBAS, in cmmc:,clion with the Merger; WI.BC 111Jd BBCN desire) to· mergo Wilahlro
                    Bank wfth and into BBCN Bank (the; 11Bank1Ykrgcr'' eoncurrently with or·es soon as reasonab~y
                    _pl'aotice.blc o.ftcr ihe consummation o!thc Merger uppn;the tei:,:ns and .subject to tho con!lit(on&
                    s~t forth.in tWs Bank Mereer .Agre.cment and tho Agreem~ and
                             WHEREAS; -foj fedi,ral and, if' applicable, state and local income tax pmposes, the
                   ·Partiei intend that·the Bank Merger shalt qualify as a ''rm3rgiuµzation•·• undec-Section 368(a) of
                    the Inremal llcvtn'ile Cod~ of 1!186, ail ·!Jllle11ded (the t~~?i and thia Agrel!Dlmit, ·sb"11
                    con;stilum a ''plan of rcorganizafion"·witliin the meaning of-tho Codo.
                            NOW, THEREFORE, in.. consideration of the fotcgoing· and the resptctive
                   .represerltatfons,. w.ammtles, covenants !ltld agreements set !9~ )n 1his B~ Meyg¢r Agteem.Dni
                    ~d'. tha Agrccrnent1_ subjeot 10 tho conditlon1 set forili ·in :this· Bank Merger Agreement ant'! the·
                    Agremnent; 1111d intonding to be legally bound hereby, tho:Parlies-apo.aa follows:
                           J..     gffriotfye Tims, Upon the. torins and subject IO the conditto.ns. set forth ln tbfs
                  ·Bonk Merger Agreement nnd the' Agronmlltlt, oonimr.rent1y with or aa aoon 1111 n!iaona'bly
                   practicablo 11f\cr the conaumrnation· 'Of the Merger. WUsbiro Bank and ·BBCN B.Plik shall cause·
                   tbr; Bank ·Merter to be· conammna~d·br flllnl l !HWY of this Barik MeJlCl' Agreement,_ certified_
                   by .t~ Sec~tary ofS!:atc of't~e $t~tc or CatU'omla purauant to Se'Otion 1103 of the Catifomia
                   General Corp.nralion Lew (file '\CGCt'i); wJtb:the C9~s~oner ofBu~ioes.s Ov&:.!'._11il!Pt ot~e
                   State ofCatifofuia pursuant to·Scolfon 4887 of the GalifomlaRmanc1aJ. C~de (th~ 'm''). The
                  J3rmk.Mcrgm·"shal~'~C,ll'Ofil.e eff'.ectlve a.t the~lpse.otbusbms at S:01 pmP11cift'o Da.ylight Tin::11:1 oh
                  the dale ofsuch tiling (tlie''ffloctiyc Time1-'J.
                           2,,     ,;nc ]brger. BBCN Bwik .shall b~ the· &urvivinJ,J; bank in .the Bimk Merger- (thi.'1.
                  "Survfying Bmik1'), At ihe J!ffective Time, Wilshire Banlc abiill btl mergecr with and !n:tQ lJBCN
                  Bank and the ~cpn~ e1Cis~noc of Wil"birc ·Bank shall cease•. The                ,,.nnk
                                                                                                    Merger shall bo
                  gove1;11ed by,_ and &hall h1we the effects.set forth in, the COCLand the CFC;



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                                                                                  •                       .5:ill p.m. ·111clficTime
                                                                                                                July:W·,2&16
                                                                                                             Jaq Lynn·Owcn.
                                                                                                     Commissioner orBustnw Oversight
                  111•)304419                                                                        By     Slll!e ofC11iJiornla, • /

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                                                                                                              W1U111:e M, Wong
                                                                                                               s~nlur C11u11sct
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             3.      M'M!! oOJl~Mtlffl,
                 (a)    At tho Bffi:odvo Tbnr;, ·Article Ono of tho .Articles of 1ni:c>ri,omion of
                              .
     BBCN Bank, as ameindcd; &hall b& mne.nded In it. mtircty to Rad III f.ClltC>y,,a:

                  ..A.R.TICL'B om. ~ 'Iho name of this CorporatlOJ1 ia Btwk ofHopo."
                      (b) . At dlD Bftectivo Tlmt. tha 8urvMng Bank man mcooed, wlflumt other
     1ranafcr, to All the rlg,hte and propordes, and shall be ,ubjcct to ell the debt,J and Jlabilitict1 of
     WJJBbiro Bank, and tlio ~ t o c:distmoo ofBOON Banl; with aJJ :iii p ~ obp)IB. right&,
     pGWl.'lfl1 privileges. Jiabilltiosi obJjptiw IIDd fl'aucbiffl, .ah~I co:ntinuo unaifcotc,d and
     ~mp.ked b)' the Bllllk Matpr.                                                ·

             ,       (c)     Tho Attiolca of Jncorporation (• amended o«cctivo M of tbo ::Bft'codvo
     Thne tu ro.tlect tho DDW mmc of tho Survivblg BW p:umumt to S!C{ion 3(a)) and tho B~ et!
     BBCN Bw, M in cff'ect III of tho Bmot.tvo Time, ab.all bo lhl' Artiolct of InoOlJ)Oflltlon and
    ·Bylaws or tho Sl.U11i\rin3 Bank. wtll tbercaltcr al~ At'llcnckd or ~ o d In ~~ wlth
     their tcnns '11d applicable Jaw.
        '         (d) The sh8ltS of :Sl3CN Bank llfm11tM>n lffl10J4 no pr v.iuo pClt' &hire rlJUKli
    Dm CommQ13 fimck~ and. th& abue. of Wilshire Bank common nook. nu par value per abaro
    (U}!H•ltfte Bmk ~ bm"> aball bo fmltcd as follows at dw JUtedivo T.tMe: (i) caob
    IJiart of ij!3CJiJ Bank Cormnon Stock illhCd and oufltat>dmg immediately prior to tho lUfecdw
    Time ab11Jl remain au fSSl.lod lllld oufatandlng Bhare of BBCN Bank Ccn»nl(m Stock; and Qi) oath
    sbatfs of Wilshira l3d Common StMk iaaucd and ou1staodil,g immcdfatoly prior~ tho Bmcti'VO
    Timo shall be automatically cani:clcd by q,ciation of law witb(».Jt ~rdamtion and ceaac to be
    an issuod lllld l . ' I ~ ,bate ofWitahiro D.aok COJDbll>n Stock.
            4,      1?J.motar.t and Offlcr.n o! th.(, Surviylgs B!J!k. OJI or prior to the Bft"codvc Timi,.,
   B~CN Danlc shall Cllu,;e tile oumbcr ofdiffi.lt>JJ that shl!J comprl11111ho board of directors of the
   Surviving Blllk at this Btreclive T!mc to be 16, Of tho manbim, ofthe lmtial boAtd of dirCCWta
   of this Surviving :Bllllk al lbD Btrtctive Titt1Ct nhio (9) shall bD CU11'tll1t mambcts of lho board of
   ducctom ofBBCN Bink as dengnatcd by BBCN Bmtpnllrto the !ffccdvo Time, Uld ,oven (7)
   shall be airrc:nt mambr::s ot tho board of dmxrtonl of Wilshint Bank as d&ipltad by Wilablro
   B.an1' prior to the EffeQtive 'l"rmo,                                                         ·
            s. Pracwt;mmrt of A$mWM, 'l1da Bank Mcrp- Agrec:,nent abaU ha subject to 1h11
    approval of wmc, as tho iwlo ~ldor ofWildrln, Batlle. and DBCN, as tho ,ioJo SQtCbo.ldcr
    of nJ3CN Bank, 111 meetings to bo cellod ud held or by CQ.DBent in lieu thl!ll.'00:f J& aocon'lan0$
   with tho appJil*)lo pmv!Jdona of law and their raspoctivo orgamizafio.MJ docmnentL Wilsbito
   Bank 11,nd l313CN ~ shall U80 thoir Q\lJDlllt1clally rtaaonablo beat ~ to proc.ccd
   OJpeditfously IIJJd cooporato fully in tho pn,outement <tf any other oonaonta and approvals and in
   lbri faldJis of any other amion, and tbri slldsfaotion of all other requt«,mmts )mtfflbed by
   ~Uoablo lAw or othetwlae neoesaary t'or the conaumnumw.. oftba Biw. Morger on tho ten:ne
   providixf :hQJCin1 mch1dmg1 without Umitatlon, the prcrparatipn 1111d submis.sJon of auch
   4PPHDatiot1S or OtnCI' filings fhr apptoval Qf 1h11 Blllk Mcrpr U may be n:quired by awllcablc
   law, a»d teguluiollf.

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                         6,     C!fflditiom: Prcgcdcg)t. Tho obllgatltma 'of the Partf~ undll' this ~ Morger
                 ~ttalent ah4lt be subjeot to: (•)thc'appt0wls oftbil S6nlc Morgar A ~ t by WIBC, u
                 the aolo fl.hmm.older of WilJbiro J3tnk, ;sad BBCN, 811 tho sols ahaicholder 01' BBCN Bm. at
                 moetinp duly called and hold « by 0M1<1Dt or ooma Sn llou thereof, ib. elc.h oase without any
                 cxcroiao of such disscnun• Jighta as w.y b,: am,licabla; (b) reedpt of approvpJ or the Bank
                 Mmger from. all govommcatal nd hmkina authorltifl!I whale approval is nquin:d by appliotble
                 laws and re:gnlatiom.: and (o) the OOPBlmllllation of the Merger }l\lt9UIUlt to thft ~ at or
                 bofotc the M'cclive 'l'lme,
                        7.      QAAcral Pm:ridom.
                                 (a)     ~hWion and Asz'gQ!lt. The obligalioo.s o£thc Parties to Dffctt tha
               . Bank Merger allaII bo subjed to atl the terms tnd oondlUDM cont&lnod ln the ~ t . Thl~
                 Bank Mergar Agremncat iwall lcmdn.ato. wilbaul any fuHbcr action 0£ 1my Pmy.
                 notwithatandmg slwcholdw ~                   1 fn tho event tJiat th& A~eot shall be tetmimitc:d RS
                 prt>vided thCJOin priar·to th!, RfJ'l!IClivc Ti:mt1.
                                  (b) APJmdmmt Thia Bank MerJer Agtccsnont may not bo llmOQd~
                modified or SllPPle.t11onftd alCCcJ1ol by an ~ in writing signed t,n bcludf of e«ch of 1hc
                .Parties at nny t:imeprl~r to the ~vo Time.
                                (o)    BvslPfSQlS·!M Auiimt, 'l1iil Bank Morger~ ahall be binding
                up~ and cn.ftm:eablo l,)y 1h11 Patties lllld dloir mpectfyti w.cccasm Dd pmntlttcd as1dgul, but
                1hL'l Bank Merger Agn,emimt may Jlot be migned by any l'arly. by opc11ltlon '1f law or
                otbmriso, wllbout th.a ptior writCen conaent of tho othtt l1erty.
                               (d)     Q\WCIJWli W'«• "I'hia Bimk Mergor Agtfflnmrt diall be governed by 11114
                ~ in isccotdancc with the l$WI of tho Stato ofClllifom.111 (witJiout giving etrcm to obolco
                otlaw prinoipJea thereof),
                               (e.)    Cs!YulmJ!arq,    Thls Dant Merger Apmo:iu may be cxllWtcd m
                ~ (which oounlerparts DJay bo delivm by fac1.lmilo ar othar commonly used
               c1cotronic mitJn&), each of whfob shall be: considered ont IIJ)d the gmne agreement and shall
               becomo cfTcetivo whco both OQJJDfmparts hAVfl been •igncd by caah of tho l'artlca and delmnd
               1o the otbar Party, it being understood that bo1h Pries need not sdp thcs ria:rno co-untmpart.
                                         ptemaindm- ofthlJ pap inmntipnally ltift b~
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